                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                NORTHERN DIVISION


 RON L. LACKS, PERSONAL
 REPRESENTATIVE OF THE ESTATE OF
 HENRIETTA LACKS
 5409 Daywalt Avenue
 Baltimore, Maryland 21206
                                                           Civil Case No.: 1:21-cv-02524-DLB
       PLAINTIFF

 VS-

 THERMO FISHER SCIENTIFIC INC.
 Serve: Capitol Corporate Services, Inc.
 Resident Agent
 3206 Tower Oaks Blvd.
 4th Floor
 Rockville, Maryland 20852


         DEFENDANT


                       STIPULATION REGARDING AMENDMENT

       Plaintiff Ron L. Lacks, personal representative of the Estate of Henrietta Lacks, by and

through their undersigned counsel, and Defendant Thermo Fisher Scientific, Inc. (“TFS”) stipulate

as follows:

   1. The Parties agree Plaintiff may amend their complaint by no later than November 18, 2022.

       TFS may file its response to Plaintiff’s amended complaint no longer than 45 days later.

       Should a response by Plaintiff be required, that response will be due 45 days following the

       filing of a responsive pleading.




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 2. The Parties agree that to streamline the briefing process, the Court may consider the

     briefing related to TFS’s prior motion to dismiss, including any amicus briefs previously

     filed.

     Respectfully submitted,


____________/s/_____________                    ____________/s/_____________

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